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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

JOHN A. SULLIVAN and                       )
CATHERINE D. SULLIVAN,                     )
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )       Cause No. 2019-cv-52
                                           )
ABIDRASHID BARRE MOHAMED                   )
and FAF, Inc., a Tennessee                 )
Corporation,                               )
                                           )
       Defendants.                         )

                           COMPLAINT WITH JURY DEMAND

       NOW COME Plaintiffs John A. Sullivan and Catherine D. Sullivan, by and

through their attorney, Ronald E. Osman of Ronald E. Osman & Associates, Ltd., and

for the Complaint against Abdirashid Barre Mohamed and FAF, Inc., a Tennessee

Corporation, state as follows.

                              PARTIES AND JURISDICTION

       1)      Plaintiffs John A. Sullivan and Catherine D. Sullivan (collectively the

“Plaintiffs” and individually as Plaintiff “John” and Plaintiff “Catherine” respectively) are

and were at all time relevant to this action citizens of the State of Illinois, being residents

of Anna, Union County, Illinois.

       2)      Defendant Abdirashid Barre Mohamed (“Defendant Mohamed”) is and

was at all times relevant to this action a citizen of the State of Ohio, being a resident of

Gahanna, Franklin County, Ohio.

       3)      Defendant FAF, Inc. (“Defendant FAF”) is and was at all times relevant to

this action a citizen of Tennessee being a corporation organized and existing under the
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laws of the State of Tennessee, SOS Control #000343474, with its principal place of

business located in Greeneville, Tennessee.

        4)    Defendant FAF is engaged in the business of expedited surface shipping

throughout the United States by use of semi-trucks, including the State of Illinois.

        5)    At all times relevant hereto, Defendant Mohamed was employed by

Defendant FAF, Inc. as a truck driver.

        6)    There is complete diversity of citizenship of the parties to this action as

Plaintiffs and Defendants are citizens of different states from one another.

        7)    The amount in controversy exceeds $75,000.00, exclusive of costs and

interest. Therefore, this Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332.

        8)    Venue for this action is proper in the Southern District of Illinois, Benton

Division, pursuant to 28 U.S.C. § 1391, as the occurrence giving rise to Plaintiffs’ claims

occurred in this district and division.

                         Automobile Accident on June 14, 2017

        9)    On June 14, 2017, at approximately 3:55 p.m., Plaintiff John was driving a

2008 Ford Explorer in a northbound direction on Interstate 57 in Johnson County,

Illinois. Plaintiff Catherine was riding as a front seat passenger in John’s vehicle.

        10)   At the same date and time, Defendant Mohamed was driving a 2007

Columbia 1 Freightliner on Interstate 57 in Johnson County, Illinois, in the course of his

employment with Defendant FAF.

        11)   Defendant Mohamed’s vehicle was traveling directly behind Plaintiffs’

vehicle.



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       12)    At milepost 42.5 on northbound Interstate 57, Plaintiff John slowed his

vehicle as a result of vehicle backup in a construction zone.

       13)    Defendant Mohamed failed to similarly slow his vehicle and swerved to

attempt to avoid striking Plaintiffs’ vehicle in the rear. Defendant Mohamed’s actions

failed to prevent impact of his vehicle into the Plaintiffs’ vehicle, with Defendant

Mohamed’s vehicle striking the left rear corner of Plaintiff’s vehicle with its right front

corner.

                                      COUNT I
                      (Negligence Claim against all Defendants)

       NOW COMES Plaintiff John A. Sullivan and for Count I against Defendants

Abdirashid Barre Mohamed and FAF, Inc. states:

       14)    Plaintiff John incorporates Paragraphs 1-13 above as if fully set forth

herein.

       15)    At the aforesaid time and place, it was the duty of Defendant Mohamed to

exercise ordinary care for the safety of all persons traveling upon the roadway, including

Plaintiff John.

       16)    At the aforesaid time and place, the vehicle operated by Defendant

Mohamed collided with Plaintiffs’ vehicle in breach of the duty of care which Defendant

Mohamed owed to Plaintiff John.

       17)    At the aforesaid time and place, Defendant Mohamed negligently

committed one or more of the following acts or omissions which thereby proximately

caused injuries and damages to Plaintiff John:

              a)    Defendant Mohamed drove the motor vehicle at a rate of speed

                    greater than was reasonable and proper with due regard to the traffic

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                   conditions and the use of the roadway in violation of 625 ILCS 5/11-

                   601;

             b)    Defendant Mohamed drove his vehicle too closely to Plaintiffs’ vehicle

                   in violation of 625 ILCS 5/11-710(a);

             c)    Defendant Mohamed failed to keep a proper lookout;

             d)    Defendant Mohamed failed to reduce his speed in order to avoid a

                   collision in violation of 625 ILCS 6/11-601(a);

             e)    Defendant Mohamed failed to steer his vehicle so as to avoid a

                   collision; and

             f)    Defendant Mohamed failed to keep his vehicle under control.

      18)    As a proximate result of one or more of the negligent acts or omissions of

the Defendant Mohamed, Plaintiff John:

             a)    incurred extensive injuries to his left shoulder and neck;

             b)    suffered and will suffer severe pain and anguish in body and mind;

             c)    has limited mobility;

             d)    has been obliged to and did expend and become liable directly for

                   large sums of money in an endeavor to be cured of said injuries;

             e)    suffered and will suffer disability;

             f)    will continue to expend and become liable for large sums of money in

                   the future in an endeavor to be cured of said injuries;

             g)    has been, by reason of said injuries, unable to work, resulting in loss

                   of income;




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              h)       will be prevented by his injuries from returning to his pre-accident

                       employment position; and

              i)       has been, by reason of said injuries, hindered and prevented from

                       attending to his affairs and duties resulting in the inability to perform

                       his activities of daily living.

       19)    As Defendant Mohamed was acting in the course of his employment with

Defendant FAF at the time of his negligent actions, Defendant FAF is jointly responsible

for his negligent actions.

       WHEREFORE, Plaintiff John A. Sullivan prays for judgment against the Defendants

Abdirashid Barre Mohamed and FAF, Inc. in an amount in excess of Seventy-Five

Thousand Dollars ($75,000.00) plus costs of suit.

                                               RONALD E. OSMAN & ASSOCIATES, LTD.


                                               By:       /s/ Ronald E. Osman
                                                         Counsel for Plaintiffs


                                        COUNT II
                        (Negligence Claim against all Defendants)

       NOW COMES Plaintiff Catherine D. Sullivan and for Count II against Defendants

Abdirashid Barre Mohamed and FAF, Inc. states

       20)    Plaintiff Catherine incorporates Paragraphs 1-13 above as if fully set forth

herein.

       21)    At the aforesaid time and place, it was the duty of Defendant Mohamed to

exercise ordinary care for the safety of all persons traveling upon the roadway, including

Plaintiff Catherine.



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      22)    At the aforesaid time and place, the vehicle operated by Defendant

Mohamed collided with Plaintiffs’ vehicle in breach of the duty of care which Defendant

Mohamed owed to Plaintiff Catherine.

      23)    At the aforesaid time and place, Defendant Mohamed negligently

committed one or more of the following acts or omissions which thereby proximately

caused injuries and damages to Plaintiff Catherine:

             a)     Defendant Mohamed drove the motor vehicle at a rate of speed

                    greater than was reasonable and proper with due regard to the traffic

                    conditions and the use of the roadway in violation of 625 ILCS 5/11-

                    601;

             b)     Defendant Mohamed drove his vehicle too closely to Plaintiffs’ vehicle

                    in violation of 625 ILCS 5/11-710(a);

             c)     Defendant Mohamed failed to keep a proper lookout;

             d)     Defendant Mohamed failed to reduce his speed in order to avoid a

                    collision in violation of 625 ILCS 6/11-601(a);

             e)     Defendant Mohamed failed to steer his vehicle so as to avoid a

                    collision; and

             f)     Defendant Mohamed failed to keep his vehicle under control.

      24)    As a proximate result of one or more of the negligent acts or omissions of

the Defendant Mohamed, Plaintiff Catherine:

             a)     incurred extensive injuries to her neck;

             b)     suffered and will suffer severe pain and anguish in body and mind;

             c)     has limited mobility;



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               d)    has been obliged to and did expend and become liable directly for

                     large sums of money in an endeavor to be cured of said injuries;

               e)    suffered and will suffer disability;

               f)    will continue to expend and become liable for large sums of money in

                     the future in an endeavor to be cured of said injuries; and

               g)    has been, by reason of said injuries, hindered and prevented from

                     attending to her affairs and duties resulting in the inability to perform

                     her activities of daily living.

       25)     As Defendant Mohamed was acting in the course of his employment with

Defendant FAF at the time of his negligent actions, Defendant FAF is jointly responsible

for those negligent actions.

       WHEREFORE, Plaintiff Catherine D. Sullivan prays for judgment against the

Defendants Abdirashid Barre Mohamed and FAF, Inc. in an amount in excess of Seventy-

Five Thousand Dollars ($75,000.00) plus costs of suit.

                                             RONALD E. OSMAN & ASSOCIATES, LTD.


                                             By:       /s/ Ronald E. Osman
                                                       Counsel for Plaintiff


                                      COUNT III
                          (Negligence Claim against FAF, Inc.)

       NOW COMES Plaintiff John A. Sullivan and for Count III against Defendant FAF,

Inc. states:

       26)     Plaintiff John incorporates Paragraphs 1-13 above as if fully set forth

herein.



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       27)    At the aforesaid time and place, it was the duty of Defendant FAF to

insure its vehicles were safe for operation upon the roadway for safety of all persons

traveling there upon, including Plaintiff John.

       28)    At the aforesaid time and place, the brakes on the Defendant FAF vehicle

operated by Defendant Mohamed were not in proper working order.

       29)    At the aforesaid time and place, Defendant FAF negligently committed

one or more of the following acts or omissions, which thereby proximately caused

injuries and damages to Plaintiff John:

              a)     Defendant FAF placed an unsafe vehicle on the roadway in violation

                     of 49 CFR §396.7;

              b)     Defendant FAF failed to maintain its vehicle in safe and proper

                     operating condition in violation of 49 CFR §396.3; and

              c)     Defendant FAF failed to keep the brakes on its vehicle in proper

                     working order in violation of 49 CFR §399.48.

       30)    As a proximate result of one or more of the negligent acts or omissions of

the Defendant FAF, Plaintiff John:

              a)     incurred extensive injuries to his left shoulder and neck;

              b)     suffered and will suffer severe pain and anguish in body and mind;

              c)     has limited mobility;

              d)     has been obliged to and did expend and become liable directly for

                     large sums of money in an endeavor to be cured of said injuries;

              e)     suffered and will suffer disability;




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                 f)    will continue to expend and become liable for large sums of money in

                       the future in an endeavor to be cured of said injuries;

                 g)    has been, by reason of said injuries, unable to work, resulting in loss

                       of income;

                 h)    will be prevented by his injuries from returning to his pre-accident

                       employment position; and

                 i)    has been, by reason of said injuries, hindered and prevented from

                       attending to his affairs and duties resulting in the inability to perform

                       his activities of daily living.

       WHEREFORE, Plaintiff John A. Sullivan prays for judgment against Defendant

FAF, Inc. in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) plus

costs of suit.

                                               RONALD E. OSMAN & ASSOCIATES, LTD.


                                               By:       /s/ Ronald E. Osman
                                                         Counsel for Plaintiffs


                                        COUNT IV
                            (Negligence Claim against FAF, Inc.)

       NOW COMES Plaintiff Catherine D. Sullivan and for Count IV against Defendant

FAF, Inc. states:

       31)       Plaintiff Catherine incorporates Paragraphs 1-13 above as if fully set forth

herein.

       32)       At the aforesaid time and place, it was the duty of Defendant FAF to

insure its vehicles were safe for operation upon the roadway for safety of all persons

traveling there upon, including Plaintiff Catherine.
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       33)    At the aforesaid time and place, the brakes on the Defendant FAF vehicle

 operated by Defendant Mohamed were not in proper working order.

       34)    At the aforesaid time and place, Defendant FAF negligently committed

 one or more of the following acts or omissions, which thereby proximately caused

 injuries and damages to Plaintiff Catherine:

              a)     Defendant FAF placed an unsafe vehicle on the roadway in violation

                     of 49 CFR §396.7;

              b)     Defendant FAF failed to maintain its vehicle in safe and proper

                     operating condition in violation of 49 CFR §396.3; and

              c)     Defendant FAF failed to keep the brakes on its vehicle in proper

                     working order in violation of 49 CFR §399.48.

       35)    As a proximate result of one or more of the negligent acts or omissions of

 the Defendant Mohamed, Plaintiff Catherine:

              a)     incurred extensive injuries to her neck;

              b)     suffered and will suffer severe pain and anguish in body and mind;

              c)     has limited mobility;

              d)     has been obliged to and did expend and become liable directly for

                     large sums of money in an endeavor to be cured of said injuries;

              e)     suffered and will suffer disability;

              f)     will continue to expend and become liable for large sums of money in

                     the future in an endeavor to be cured of said injuries; and




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                  g)    has been, by reason of said injuries, hindered and prevented from

                        attending to her affairs and duties resulting in the inability to perform

                        her activities of daily living.

        WHEREFORE, Plaintiff Catherine D. Sullivan prays for judgment against Defendant

 FAF, Inc. in an amount in excess of Seventy- Five Thousand Dollars ($75,000.00) plus

 costs of suit.

                                                RONALD E. OSMAN & ASSOCIATES, LTD.


                                                By:       /s/ Ronald E. Osman
                                                          Counsel for Plaintiffs


                                      Demand for Jury Trial

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby

 demand a jury trial.

                                                RONALD E. OSMAN & ASSOCIATES, LTD.


                                                By:       /s/ Ronald E. Osman
                                                          Counsel for Plaintiffs


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